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                                    STATE ON BEHALF OF SLINGSBY v. SLINGSBY
                                              Cite as 25 Neb. App. 239



                    State      of   Nebraska                Hunter Wade Slingsby,
                                                 on behalf of
                             a minor child, appellee, v.   Jessie M. Slingsby,
                                now     known as Jessie M. Watts, appellant,
                                        and Devin W. Oxford, appellee.
                                                     ___ N.W.2d ___

                                         Filed October 31, 2017.   No. A-16-1170.

                1.	 Child Custody: Appeal and Error. Child custody determinations are
                    matters initially entrusted to the discretion of the trial court, and
                    although reviewed de novo on the record, the trial court’s determination
                    will normally be affirmed absent an abuse of discretion.
                2.	 Child Custody. Ordinarily, custody of a minor child will not be modi-
                    fied unless there has been a material change in circumstances showing
                    that the custodial parent is unfit or that the best interests of the child
                    require such action.
                3.	 Modification of Decree: Child Custody: Proof. In a child custody
                    modification case, first, the party seeking modification must show a
                    material change in circumstances, occurring after the entry of the previ-
                    ous custody order and affecting the best interests of the child. Next, the
                    party seeking modification must prove that changing the child’s custody
                    is in the child’s best interests.
                4.	 Modification of Decree: Words and Phrases. A material change in
                    circumstances means the occurrence of something which, had it been
                    known at the time of the initial decree, would have persuaded the court
                    to decree differently.
                5.	 Child Custody. While the wishes of a child are not controlling in
                    the determination of custody, if a child is of sufficient age and has
                    expressed an intelligent preference, the child’s preference is entitled
                    to consideration.
                6.	 ____. Factors such as the child’s age and preference, academic and
                    social benefits, living environment, and general quality of life, go to the
                    welfare of the child, and such evidence can be considered in a change of
                    custody determination.
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               STATE ON BEHALF OF SLINGSBY v. SLINGSBY
                         Cite as 25 Neb. App. 239
 7.	 Child Custody: Appeal and Error. In contested custody cases, where
     material issues of fact are in great dispute, the standard of review and
     the amount of deference granted to the trial judge, who heard and
     observed the witnesses testify, are often dispositive of whether the trial
     court’s determination is affirmed or reversed on appeal.

  Appeal from the District Court for Buffalo County: John H.
M arsh, Judge. Affirmed.

   Nathan T. Bruner, of Bruner Frank, L.L.C., for appellant.

  Michael S. Borders, of Borders Law Office, for appellee
Devin W. Oxford.

   Moore, Chief Judge, and Bishop and A rterburn, Judges.

   Bishop, Judge.
   Jessie M. Slingsby, now known as Jessie M. Watts, appeals
from the decision of the district court for Buffalo County modi-
fying custody of Hunter Wade Slingsby. We affirm.

                         BACKGROUND
   Devin W. Oxford and Jessie are the parents of Hunter,
born in November 2000. In September 2002, a stipulation
was reached regarding paternity, custody, support, and daycare
expenses. Jessie was awarded custody, and Devin received
reasonable parenting time. In July 2006, the court modified
the 2002 order to provide Devin with specific parenting time
of every other weekend, rotating holidays, and 1 month each
summer. Although neither the 2002 nor the 2006 orders of the
district court appear in our record, the parties agree on the sub-
stance of the orders.
   In July 2016, Devin filed an amended application asking the
court to grant him physical custody of Hunter. Devin alleged
that Hunter wanted to reside with him and that Hunter wanted
to try going to school in Ansley, Nebraska (where Devin lives),
because he was struggling at his current school in Kearney,
Nebraska (where Jessie lives).
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   A hearing on the modification took place on November 1,
2016. Devin testified that he lives in Ansley with his girl-
friend of almost 9 years, Danyle Goodman; their son, who
was 5 years old at the time of the hearing; and Danyle’s son
from a previous relationship, who was 9 years old at the
time. Devin’s home is large enough that each child, including
Hunter (who would turn 16 years old later that month), has his
own bedroom.
   Hunter was a sophomore in high school in Kearney at the
time of the hearing, and he participated in wrestling and cross-
country. Devin testified that Hunter struggled in high school
and had struggled prior to high school as well. Devin agreed
that Hunter is “smart,” but that he struggles because he does
not follow through on his schoolwork or turn in assignments.
Jessie had been working with Hunter on his schoolwork, and
Devin was supportive of her efforts. On one occasion, Hunter
was at a wrestling meet when Devin and Jessie decided Hunter
could not participate because he had not completed a class
assignment and test. Devin thinks it is important that he and
Jessie work together to address Hunter’s issues with school-
work. On cross-examination, Devin acknowledged that at his
house there have not yet been any consequences for Hunter for
failing to turn in school assignments. Devin attended Hunter’s
fall 2016 parent-teacher conference, but had not previously
participated in conferences. He had communicated with Jessie
about going to a previous conference together, but she was not
agreeable to attending together.
   Devin testified that he talks to Hunter about his grades
“[o]nce a week or so.” During Devin’s parenting time, he
helps Hunter complete his homework. Devin wants Hunter to
get good grades and would not allow him to “slack off” with
his homework if Hunter came to live with him. At Devin’s
house, “[s]choolwork comes first before anything else”; that
rule has already been implemented with the younger children
in his household. Devin believes the high school in Ansley
could provide Hunter with a good education. Danyle works
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for the Ansley public school system and would be present at
Hunter’s school every day.
   Devin also testified about his employment (he owns a fenc-
ing company and is self-employed, mostly fencing pastures and
building corrals), his finances, and his child support payment
history (there had been times when he fell behind, but also
times when he paid ahead). He also testified about his hobby
of “trapping” animals, which is “just another form of hunting,
conservation,” an activity he participates in with the children
in his household.
   Devin asked the court to award him joint legal custody of
Hunter with Jessie. Devin claimed that he and Jessie have been
able to communicate about Hunter in the past and that Devin
was willing to continue communicating with Jessie. A lot of
their communication is through text messaging, much of which
is through Danyle’s cell phone because Devin does not always
have cellular service when he is working. According to Devin,
Jessie and Danyle have a good relationship and are able to
communicate about Hunter.
   Devin also asked the court to award him physical cus-
tody of Hunter. Hunter brought up the idea of living with
Devin 11⁄2 to 2 years earlier, but Jessie was opposed to the
idea. Devin said that he loves Hunter and that they want to
do more activities like fishing, hunting, and sports together.
Hunter gets along well with the younger children in Devin’s
household, and he also has friends in Ansley. He is interested
in the outdoors and “ag-related” activities, and he participates
in 4-H in Ansley, showing cattle. He has also expressed an
interest in “participat[ing] in FFA,” an activity that is not
available at his high school in Kearney. Devin thinks it would
be in Hunter’s best interests to be placed with him because
“[i]t’s where [Hunter] wants to be right now. He feels like he
would get along better in Ansley at the school. He wants to
be around me and his brothers more often.” Hunter has been
struggling at his high school in Kearney for a couple of years,
and a change to a new school “[c]an’t hurt.” “Ansley would
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be a good place for him to go.” On cross-examination, Devin
agreed that Jessie is a fit parent, that she has been primarily
responsible for raising Hunter for the entirety of his life, and
that her care of him has been appropriate.
   Danyle testified that Devin is a “very loving” father and that
he “spends time with his kids and does activities that they all
enjoy.” She said Devin and Hunter “share a lot of the same
interests,” including fishing, hunting, and agriculture. Danyle
further said that she and Hunter have a “great relationship” and
that she would “welcome him into [their] home” if Devin was
awarded physical custody.
   Danyle is a paraeducator for the Ansley public school sys-
tem. Both of her children attend public schools in Ansley. The
rule in Devin and Danyle’s home is that schoolwork has to be
done before any activities occur. Danyle said that she would
help make sure Hunter completes his homework and that if he
does not complete it, then he would lose privileges and would
not be able to attend activities. She said that although Hunter
does not show maturity in completing his schoolwork, he does
show maturity in completing his chores and in helping with
her children.
   Jessie testified she lives in Kearney with her husband of 12
years, Christopher Watts; their three daughters, who were 8, 5,
and 3 years old at the time of the hearing; a foster daughter,
who was 18 months old at the time of the hearing; and Hunter.
Hunter has his own bedroom in Jessie’s home. Jessie has been
a stay-at-home mother for 8 years, and Christopher is a phar-
macist. Jessie and Hunter have a “great relationship” and get to
spend a lot of time together. She supports Hunter in his activi-
ties and is there for him whenever he needs her. Christopher
has a loving relationship with Hunter as well. They spend a lot
of time together, do a lot of sporting activities, and Christopher
helps Hunter with his homework. Hunter also has a loving
relationship with his half sisters. Jessie testified that Hunter is
“very easy going and always seems happy and just ready to do
anything” and makes friends easily.
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   According to Jessie, Hunter’s struggles to complete school-
work started in third grade. He took “ADHD” medication
for a time in fifth and sixth grade, but was taken off of the
medication because the side effects outweighed the benefits.
In the sixth grade, he continued to struggle with completing
schoolwork up to the time of the hearing. Jessie tried punish-
ments, but those had no effect on Hunter so they changed to
reward incentives. The incentives worked for a while but he
“would eventually kind of slack off again,” and the pattern of
incon­sistency continued. Jessie communicated with Hunter’s
teachers, and they tried using organizational planners, but
Hunter did not remain consistent with completing or turning
in his assignments. Jessie said that Hunter would lie about
his homework and that the lying had gotten worse in the past
couple of years. She said that he was capable of doing the
work, but that he just did not want to. Jessie did not believe a
change of schools would benefit Hunter because “these prob-
lems are not going to change.” Hunter “does not love school,”
and if he could get by without it, “he would definitely not be
in school.”
   Jessie first learned of Hunter’s desire to live with Devin in
February 2016 after Hunter spoke to a school counselor about
his wishes, and the counselor then contacted Jessie about the
meeting. When asked what she thought Hunter’s motivation
was for wanting to move to Ansley, Jessie responded, “He
thinks it will be easier, and he thinks that he has more friends
up there which is not true because he doesn’t communicate
with them on a regular basis like he does with the ones here.
He . . . does want to live with his dad and his brothers.”
Jessie does not have a problem allowing Hunter to spend
more time with Devin in the summers, but does not want
him to move to Ansley because “it’s important that Hunter
knows that he can’t get out of something, especially school
just because he may not like it.” “He needs to deal with the
consequences,” and Jessie feels like Hunter is “running away
from it.”
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   Jessie believes Devin loves Hunter, but thinks there is a
lack of communication between Devin and Hunter. Hunter
rarely has telephone contact with Devin, sometimes not even
once per month. Jessie has concerns that Hunter would not
attend church regularly if he lived with Devin. And it is
important to Jessie that Hunter stay connected with his church
in Kearney. The pastor at Hunter’s church in Kearney testi-
fied Hunter is a “really well-behaved and good, young man,”
and “[a]s he has grown up, he’s very responsible.” The pastor
said he would describe Jessie as “one of the best parents I’ve
ever seen.”
   Jessie said that she and Devin “don’t communicate a lot”
and that “it is only about Hunter and it’s rare.” She is willing
to work with Devin and is fine with either text messages or
telephone calls. Jessie has a “really good” relationship with
Danyle and said Danyle has been “wonderful to communicate
with and [sic] in regards to Hunter and his interests.” When
asked if Danyle does well with Hunter, Jessie said, “Yes.” For
the year or two leading up to the modification hearing, Jessie
had been able to communicate with Danyle and/or Devin about
Hunter’s schooling, changing pick-up or drop-off times, chang-
ing weekends for parenting time, and activities. She agreed
Devin had been supportive of her in dealing with Hunter and
his schoolwork, and she was not aware of any attempts by
Devin to undermine or challenge her decisions.
   Christopher testified he has known Hunter since he was
less than 18 months old, when Christopher began dating
Jessie. Christopher said that he loves Hunter and that they
have a “great relationship.” In addition to providing care
for Hunter, Christopher is involved in various activities with
Hunter. He has coached Hunter’s sports teams, and they play
sports together, exercise together, and go fishing. The two of
them have hunted a few times, and Hunter has also gone hunt-
ing with Christopher’s brother. Christopher also helps Hunter
with homework. Hunter has some maturity issues with regard
to lying and taking accountability for his actions. Christopher
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does not agree with Hunter’s desire to live with Devin
because Hunter had lived with Jessie since birth and has been
well cared for. Christopher said Jessie and he are doing every-
thing they can to help Hunter be a “successful young man
[and] graduate from high school.” He further said that they
provide a loving and safe environment and that “[t]here is no
reason for [Hunter] to go anywhere else.”
   The assistant principal at Hunter’s high school in Kearney,
Hunter’s school counselor, and several of Hunter’s teachers
testified. They all agreed that Hunter is a “good kid,” but
struggles in school because he will not complete or turn in
homework, even though he is capable of doing the work. One
teacher testified that Hunter “doesn’t appear to have grasped
yet how important school is and how important doing well
in school is for his future success,” so there have been chal-
lenges. Jessie and Christopher have tried to ensure that Hunter
is accountable with his schoolwork. None of the teachers
had contact with Devin until October 2016 parent-teacher
conferences.
   Hunter testified in camera. The bill of exceptions notes that
only Hunter and the judge were in the courtroom for Hunter’s
testimony. Hunter testified that he currently lived with Jessie
most of the time and is with Devin every other weekend and
that he would like to “just flip” so that he is at Devin’s house
most of the time and with Jessie every other weekend. When
asked about Devin’s house, Hunter replied, “I don’t really
have like all the nicer things that I have at my mom’s house
because at my mom’s house I have my own bathroom that’s
connected to my room. And at my dad’s house, I don’t have
that but it’s not that big of a deal.” Hunter testified he likes
being in a smaller town and has more friends in Ansley. He
also likes being outdoors more at Devin’s house, and he likes
to hunt. Hunter is involved in 4-H, showing cattle. Devin has
cattle, and Hunter enjoys helping with the cattle. Hunter said
that he “always feel[s] like [he’s] kind of trapped” at Jessie’s
house and that he “[doesn’t] really get out much.”
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   Hunter acknowledged having trouble in school because he
does not always turn in his homework. Jessie and Christopher
help him with his homework. When asked what he thought
would change if he lived with Devin, Hunter said:
      I think that the school there, it would be a lot bet-
      ter for me because they can — they have a lot smaller
      classes than [in the high school in] Kearney . . . and so
      smaller classes I will have more time that I can maybe
      talk to the teachers about questions I might have. And
      they also would go through a lot of their materials a lot
      faster because I was talking to one of my friends just a
      few weekends ago, and he said he was already past the
      point like in geometry — they were already past where
      we were. . . . [T]hey’re like a week or two ahead of us.
      And they also have other classes like they have an ag
      class which I really would like to do that because I have
      my own cattle and stuff and that would be really nice to
      have. And they also have things like FFA and FBLA that
      I would like to be a part of.
At Devin’s house the rule is that the children have to get home-
work done before doing anything else, so they do homework
on Friday night and are free the rest of the weekend to do what
they want to do. Devin and Danyle help Hunter with home-
work if needed.
   In its amended order filed on November 30, 2016, the dis-
trict court found both parents to be fit and proper persons to
be awarded the custody and care of the child. The court found
that “the stated preference of Hunter and his evolving relation-
ship with his father is a material change in circumstances.” The
court found that Hunter was of “sufficient age of comprehen-
sion” and that his preferences were based on sound reasons.
The court said:
         While legally a “minor child” Hunter is now a 16-year-
      old young man. Hunter very clearly gave his reasons for
      wanting to live with his father. Hunter has great interests
      in agriculture and a rural lifestyle. He has friends in the
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      Ansley area and has discussed their perceptions of the
      Ansley School with them. Hunter believes that he would
      do better in the Ansley School. Hunter makes a strong
      case and the Court finds that the father’s application
      should be granted. The Court realizes that this decision
      is a disappointment to Hunter’s mother and step-father,
      but trusts that all parties will cooperate and Hunter will
      continue to become a fine adult.
The court further found that Hunter’s stated preference “out-
weighs the other factors, most of which would favor him
continuing to reside with his mother.” Among the “other fac-
tors” considered by the court was “the attitude and stability of
each parent’s character.” The court noted that Devin is gener-
ally supportive of Hunter’s education, but has only recently
begun attending parent-teacher conferences; the court was
also “somewhat concerned” with the planning of activities by
Devin “such as a cruise that would take Hunter out of school
when [he] was having problems at school.” With regard to the
“parental capacity to provide physical care and satisfy educa-
tion needs of the child,” the court noted Jessie has provided
“excellent care and has carried the bulk of that burden since
Hunter’s birth.” Jessie’s and Christopher’s efforts at working
to ensure Hunter’s success in school was “the factor presenting
the Court with the greatest difficulty in deciding this case.”
With regard to “continuing or disrupting an existing relation-
ship,” the court found any disruption of Hunter’s relation-
ship with half siblings on Jessie’s side “may be offset” by an
improved relationship with his half sibling on Devin’s side;
there would be a similar “offset” with his parental relation-
ships. The court said, “While these are not the only factors
considered by the Court they are the primary factors weighed
against the expressed desires of Hunter.”
   The court concluded it was in Hunter’s best interests for the
parties to be awarded joint legal custody, with primary physi-
cal custody awarded to Devin, effective June 1, 2017 (after
Hunter completed the 2016-17 school year). The district court
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ordered that Jessie would have parenting time “at a minimum,
as was allowed for the father” in the 2006 order. The court also
ordered Jessie to pay child support of $107 per month, begin-
ning June 1, 2017. Jessie timely appealed.
                  ASSIGNMENT OF ERROR
   Jessie assigns, restated, that the district court abused its
discretion by modifying its prior orders to award joint legal
custody, with primary physical custody awarded to Devin.
However, Jessie does not address the award of joint legal
custody in the argument section of her brief, so it will not be
addressed. To be considered by an appellate court, an alleged
error must be both specifically assigned and specifically argued
in the brief of the party asserting the error. Waldron v. Roark,
298 Neb. 26, ___ N.W.2d ___ (2017).
                  STANDARD OF REVIEW
   [1] Child custody determinations are matters initially
entrusted to the discretion of the trial court, and although
reviewed de novo on the record, the trial court’s determination
will normally be affirmed absent an abuse of discretion. Schrag
v. Spear, 290 Neb. 98, 858 N.W.2d 865 (2015).
                          ANALYSIS
   [2-4] Jessie argues that the district court erred by award-
ing primary physical custody of Hunter to Devin. Ordinarily,
custody of a minor child will not be modified unless there
has been a material change in circumstances showing that the
custodial parent is unfit or that the best interests of the child
require such action. Id. First, the party seeking modification
must show a material change in circumstances, occurring after
the entry of the previous custody order and affecting the best
interests of the child. Next, the party seeking modification
must prove that changing the child’s custody is in the child’s
best interests. State on behalf of Jakai C. v. Tiffany M., 292
Neb. 68, 871 N.W.2d 230 (2015). A material change in cir-
cumstances means the occurrence of something which, had
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it been known at the time of the initial decree, would have
persuaded the court to decree differently. See Schrag v. Spear,
supra. The party seeking modification of child custody bears
the burden of showing as an initial matter that there has been
a change in circumstances. See id.
   Neb. Rev. Stat. § 43-2923(6) (Reissue 2016) provides that in
determining custody and parenting arrangements:
      [T]he court shall consider the best interests of the minor
      child, which shall include, but not be limited to, consid-
      eration of . . . :
         (a) The relationship of the minor child to each parent
      prior to the commencement of the action or any subse-
      quent hearing;
         (b) The desires and wishes of the minor child, if of
      an age of comprehension but regardless of chronological
      age, when such desires and wishes are based on sound
      reasoning;
         (c) The general health, welfare, and social behavior of
      the minor child;
         (d) Credible evidence of abuse inflicted on any family
      or household member. . . ; and
         (e) Credible evidence of child abuse or neglect or
      domestic intimate partner abuse.
Other pertinent factors include the moral fitness of the child’s
parents, including sexual conduct; respective environments
offered by each parent; the age, sex, and health of the child
and parents; the effect on the child as a result of continuing
or disrupting an existing relationship; the attitude and stabil-
ity of each parent’s character; and parental capacity to provide
physical care and satisfy educational needs of the child. Robb
v. Robb, 268 Neb. 694, 687 N.W.2d 195 (2004).
   Jessie argues that (1) Devin did not demonstrate a material
change in circumstances, (2) Devin is unfit as a custodial par-
ent, and (3) even if a material change of circumstances had
occurred and Devin is a fit parent, it is not in Hunter’s best
interests to be primarily placed with Devin.
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   We initially note that the district court found “both parents
are fit and have positive qualities to offer Hunter.” Jessie
contends, however, that Devin is unfit in that Devin cannot
financially support himself and relies on his live-in girlfriend
to pay bills; Devin did not prioritize his child support obliga-
tion over other expenses like hunting and fishing licenses or
an extracurricular trip for Hunter; Devin allegedly lied on
his hunting and fishing license applications when he repre-
sented he was current on his child support obligation; Devin
allegedly committed tax fraud when he did not get federally
mandated health insurance or pay the alternative penalty;
and Devin has “questionable” morality, brief for appellant
at 21, based on the fact that after trapping animals, he has
“dispatch[ed]” them in front of the young children in his
household. Devin’s response is that none of Jessie’s asser-
tions prove he is an unfit parent, because his financial status
is not relevant; although there have been times that he has
been behind on his child support obligation, there have been
times he has paid ahead; and trapping is a “humane” practice
and “rural children begin hunting and fishing at a young age,”
brief for appellee at 8. Having reviewed the record, we deter-
mine the district court did not abuse its discretion in finding
Devin to be a fit parent.
   We now address the material change in circumstances and
the best interests of the child. Like the district court, we find
this case is similar to Floerchinger v. Floerchinger, 24 Neb.
App. 120, 883 N.W.2d 419 (2016), with regard to both. In
Floerchinger, this court affirmed a district court’s modification
of physical custody based upon a material change in circum-
stances stemming from a son’s expressed desire to live with
his father in Nebraska. The son had been living with his mother
in Maine for almost 11 years; at the time of trial, he was 13
years old. In that case, the son testified that he preferred living
in Nebraska due to the comfortable and relaxed environment
at his father’s house and because he enjoyed the interaction
he had with his father. In Maine, among other things, the son
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stated he was “pestered” by his stepsiblings. Id. at 127, 883
N.W.2d at 426.
   [5] We noted the Nebraska Supreme Court has stated that
“while the wishes of a child are not controlling in the deter-
mination of custody, if a child is of sufficient age and has
expressed an intelligent preference, the child’s preference
is entitled to consideration.” Id. at 140-41, 883 N.W.2d at
434 (citing Vogel v. Vogel, 262 Neb. 1030, 637 N.W.2d 611(2002)). Further, “in cases where the minor child’s preference
was given significant consideration, the child was usually
over 10 years of age.” Floerchinger, 24 Neb. App. at 141,
883 N.W.2d at 434. In Floerchinger, the district court found
a material change in circumstances had occurred subsequent
to the decree which justified modification of custody and that
such modification was in the best interests of the child. We
noted, “The [district] court specifically focused on [the child’s]
desire to reside with [his father] in Nebraska, concluding that
[the child] was articulate and that his decision was based on
sound reasoning.” Id.
   Jessie argues Floerchinger is inconsistent with Hossack v.
Hossack, 176 Neb. 368, 373, 126 N.W.2d 166, 169 (1964),
which stated that “[s]uch incidents of life as advancing age
of minors, remarriage of parents, and particular advantages
of one parent’s environment do not constitute a legal basis
for changing the custody of minor children . . . without an
affirmative showing that the welfare of the children demands
a change.” In Hossack, custody was changed by the trial court
from the children’s mother to their father, and the Supreme
Court reversed that decision. The Supreme Court pointed out
that the initial divorce decree had found the mother to be an
“innocent party [who] was a fit and proper person to have
the custody of the two boys until they reach 21 years of age”
and that there were no claims made that “the children were
neglected or mistreated or that the [mother] was of question-
able character or qualifications.” Id. at 371, 126 N.W.2d at
168. In Hossack, evidence that the children were 4 years older
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since the time of the initial decree and that the father had
since become a professor, remarried, and “could presently fur-
nish them a better-than-average home from an intellectual as
well as a physical standpoint,” id., was not sufficient to war-
rant a change in custody, as there was no “affirmative show-
ing that the welfare of the children demands a change,” id. at
373, 126 N.W.2d at 169. Although the father had taken the
children to a psychologist who determined “the children were
not intellectually stimulated at home; and that the [mother’s]
home did not provide motivation for them to use their innate
abilities,” the court concluded “[t]here was no affirmative
showing by the [father] as to how he would accelerate the
boys’ progress in school or intellectually stimulate them in
his home.” Id. at 372, 126 N.W.2d at 169. Jessie argues that
Devin failed to produce evidence that anything would be dif-
ferent in Ansley and that “[a]ccess to 4-H and FFA is simply
an advantage of Devin’s environment,” which Hossack says
does not constitute a legal basis for changing custody. Brief
for appellant at 12.
   We first point out that Hossack was decided in 1964 under
different divorce and parenting laws than exist now and that
the appellate standard of review in that case was “for trial de
novo,” 176 Neb. at 370, 126 N.W.2d at 168, rather than the
standard of review applicable today—de novo on the record
for an abuse of discretion. In Hossack, the Supreme Court
observed that the “order modifying the decree included no
findings relative to changed circumstances or the best interests
of the children.” 176 Neb. at 370, 126 N.W.2d at 168. In the
record before this court, the district court did make specific
findings in that regard, and this court reviews those findings
for an abuse of discretion.
   [6] Furthermore, we do not read Floerchinger v. Floerchinger,
24 Neb. App. 120, 883 N.W.2d 419 (2016), to be inconsistent
with Hossack v. Hossack, 176 Neb. 368, 126 N.W.2d 166(1964). In Floerchinger, the court considered a number of
factors in its custody determination (e.g., child’s age and
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preference, academic and social benefits, living environment,
and general quality of life). Such factors go to the welfare
of the child, and as stated in Hossack, such evidence can be
considered in a change of custody determination. See, also,
Miles v. Miles, 231 Neb. 782, 438 N.W.2d 139 (1989) (custody
modification based on child’s preference and deterioration of
parent-child relationship).
   Similar to Floerchinger v. Floerchinger, supra, the court
in this case specifically found Hunter’s stated preference to
live with Devin and his evolving relationship with Devin
constituted a material change in circumstances. Hunter clearly
stated his reasons for wanting to live with Devin: He is inter-
ested in agriculture and likes to help Devin with cattle, he
enjoys being outdoors and hunting, he likes being in a smaller
town, and he has more friends in Ansley. Devin felt “trapped”
at Jessie’s house and did not “get out much.” Hunter had
also struggled in school for a number of years, particularly
with regard to completing and turning in assignments; his
grades ran the gamut from A’s to F’s, despite Jessie’s and
Christopher’s efforts to help him. He had spoken to his friends
from Ansley about their school experience and felt the high
school in Ansley would be a better fit for him. In particular,
Hunter was interested in an “ag class” offered at Ansley, the
smaller class sizes (which would provide more opportunity to
work with teachers), and the study halls (which would help
him to get his homework done during the day). After our de
novo review of the record, we conclude the district court did
not abuse its discretion in finding there had been a material
change in circumstances.
   [7] Devin and Jessie presented conflicting testimony regard-
ing whether a change in custody would be in Hunter’s best
interests, including whether Hunter’s reasons for wanting
to live with Devin were sound. In contested custody cases,
where material issues of fact are in great dispute, the stan-
dard of review and the amount of deference granted to the
trial judge, who heard and observed the witnesses testify, are
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often dispositive of whether the trial court’s determination is
affirmed or reversed on appeal. Schrag v. Spear, 290 Neb. 98,
858 N.W.2d 865 (2015); Floerchinger v. Floerchinger, supra.
The trial court in this case had an opportunity to observe the
testimony of both parties, as well as the testimony of Hunter
and the other witnesses. The court found Hunter had “very
clearly” given his reasons for wanting to live with Devin and
that Hunter’s stated preference outweighed the other factors
for best interests. The court reached this conclusion while also
acknowledging the “extraordinary efforts put forth” by Jessie
and Christopher and that “their involvement remains essential
to Hunter’s best interests.”
   At the time of the modification hearing, Hunter was within
weeks of turning 16 years old. As stated above, he clearly
stated his reasons for wanting to live with Devin. Although
Jessie calls Hunter’s reasoning and maturity into question, the
district court found Hunter’s reasons were sound. Several of
Jessie’s witnesses testified that, aside from schoolwork, Hunter
is mature and responsible and that he has become more mature
in the past year. In addition to Hunter’s wishes, the district
court had an opportunity to consider other best interests fac-
tors, including Hunter’s academic performance, extracurricular
activities, friends, living environment, and general qualities of
life at both parents’ respective homes. The court found both
Devin and Jessie had positive qualities to offer Hunter, but that
Hunter’s stated preference outweighed the other factors. Upon
our de novo review, we can find no abuse of discretion in the
district court’s decision to award physical custody of Hunter
to Devin.
                        CONCLUSION
  For the reasons stated above, we affirm the district court’s
decision to award the parties joint legal custody of Hunter, with
physical custody awarded to Devin.
                                                      A ffirmed.
